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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


                                               CIVIL ACTION
                                               Case#: - - - - -



JOSE 0. TORRES

                                               For Injunctive Rebe an            ec aratory Damages


     V.
SHER TREMONTE LLP                              Demand for Trial by Jury
JUSTIN M. SHER
MICHAEL TREMONTE                               Applicable Statutes

NOAM KORA TI BIALE                             18 USC§ 1962(c) and (d) Federal Civil RICO

ANNA MARIA ESTEVAO
TOR EKELAND LAW PLLC                          Applicable Jurisdiction Statutes

TOREKELAND                                     28 USC§ 1331 Federal Question Jurisdiction

JESSICA COONROD
ARGENTINO, FIORE LAW ADVOCACY LLC :            Applicable Injunctive Relief

JODI ARGENTINO                                 18 USC§ 1964

CELESTE FIORE
FRANK MORANO
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SECTION 1: JURISDICTION

         For 18 U .S.C.S. §§ 1961-1968, 18 U .S.C.S. § 1962 provides the District Court original jurisdiction as per RICO
claims under 18 U.S.C.S. § l 964(a), (b), (c) and (d). RICO claims invoke federal question subject matter jurisdiction and thus the
law of the forum is federal law. See Bridge v. Invest Am., Inc., 748 F. Supp. 948 (D. R.I. 1990)

         Defendants Criminal Enterprise affected interstate commerce as Defendants conspired with each other in New York and New
Jersey and with prostitutes in New York, Pennsylvania, Nevada, Hawaii and Canada among other unknown locations to strategize and
plan the Criminal Enterprise.

         The requirements that a RICO plaintiff must satisfy in conjunction with invoking competent personal jurisdiction include
subject matter jurisdiction, appropriate venue, a constitutionally sufficient relationship between the defendant and the forum, and
authorization for service ofa summons on the person. ESAB Group, Inc. v. Centricut, Inc., 126 F.3d 617,622 (4th Cir. 1997), cert.
denied, 523 U.S. 1048 (1998) (quoting Omni Capital Intl v. Rudolf Wolff & Co., 484 U.S. 97, 104, 108 S. Ct. 404, 98 L. Ed. 2d 415
(1987)).


SECTION 2: PREVIOUS CIVIL ACTION
Plaintiff has not filed any lawsuit(s) in any State court or any Federal District Court.


SECTION 3: PARTIES
PLAINTIFF
    1. Jose Torres, 354 Doremus Ave. Newark, New Jersey, 07105.

DEFENDANTS
    1) SHER TREMONTE LLP, 90 Broad Street, 23 rd Floor, New York, NY 10004
    2) JUSTIN SHER, ESQ., 90 Broad Street, 23 rd Floor, New York, NY 10004
    3) MICHAEL TREMONTE, ESQ., 90 Broad Street, 23 rd Floor, New York, NY 10004
    4) NOAM KORATI BIALE, ESQ., 90 Broad Street, 23 rd Floor, New York, NY 10004
    5) ANNA MARIA ESTEVAO, ESQ., 90 Broad Street, 23 rd Floor, New York, NY 10004
    6) TOR EKELAND LAW PLLC, 30 Wall Street, 8th Floor, New York, NY 10005
    7) TOR EKELAND, ESQ., 30 Wall Street, 8th Floor, New York, NY 10005
    8) JESSICA COONROD, ESQ., Pharmapacks, 1985 Marcus Avenue, Suite 207, New Hyde Park, NY 11042
    9) ARGENTINO, FIORE LAW ADVOCACY LLC, 8 Hillside Avenue, Suite 201, Montclair, NJ 07042
    l0)JODI ARGENTINO, ESQ., 8 Hillside Avenue, Suite 201, Montclair, NJ 07042
    11) CELESTE FIORE, ESQ., 8 Hillside Avenue, Suite 201, Montclair, NJ 07042
    12)FRANK MORANO, ESQ., 8 Hillside Avenue, Suite 201, Montclair, NJ 07042

We maintain the right to amend the list of defendants at any time.
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SECTION 4: STATEMENT OF CLAIM
(a) Description of conspiracy - Describe in detail the alleged conspiracy fom int\ the basis of
    this action.

    Conspirators are comprised of three small law firms and nine attorneys, some whom are Jwaers and others
are employees of these law firms. These law firms and attorneys are located in NYC, New Yor] ~ and in Montclair,
New Jersey. The names of the firms in the conspiracy are: Sher Tremonte LLP; Tor Ekeland law PLLC; and
Argentino, Fiore Law Advocacy. Attorneys involved in the conspiracy are: Justin M. Sher, :,her Tremonte co-
founding partner; Michael Tremonte, co-founding partner; Noam Korati Biale, Sher TremOJlte .1ttomey; Anna
Maria Estevao, Sher Tremonte associate attorney; Tor Ekeland, Tor Ekeland Law managit g r,artn,!r; Jessica
Coonrod, Tor Ekeland Law associate attorney; Jodi Argentino, Argentino, Fiore Law Acvo,,acy managing
partner; Celeste Fiore, Argentino, Fiore Law Advocacy managing partner; and Frank Moranc, 1-1 ~gentino, Fiore
Law Advocacy attorney.

    Conspirators formed a Criminal Enterprise in or around June 2019 through the date oJ' th.: filing of this
complaint. Defendants within and among each other conspired with the multi-billion dollar lktial prostitution
industry to create a new untapped client base for their law firms by offering to collect illicit , ri1rcinal debt from
patrons ("johns") of the illegal prostitution trade. This is no different than a law firm or a police ,,fficer creating
a market to collect debt that is owed to drug dealers, illegal gambling outfits, or any other ill :!gal business, and
overtly advertising to find more drug dealers to collect for. The collection of illegal black m, rht criminal debt
would normally be reserved for collection thugs who may go to see debtors and threaten then physically to get
the proceeds of the ill-gotten gains of the crimes committed.

    Conspirators committed overt acts by advertising via the internet their collection services, t 1en:by h)oking for
prostitutes and sex traffickers involved in illegal prostitution, who are in violation of the M mn Act of 1910 -
USCS § 2422(a), who conspirators can represent to collect the ill-gotten criminal debt. The c,mspirators further
violated Federal Money Laundering statute USCS § 1956(h), by their acts and attempts to collect proceeds of
criminal activity, namely illegal prostitution and sex trafficking. Co-conspirators are further in violation of federal
law USCS § 2 Aiding and Abetting USCS § 2422(a).

    The illegal conspiracy developed by defendants involves law firms and attorneys recruitin ~ and then signing
legal representation agreements with prostitutes and sex traffickers who respond to the national internet
advertisement(s). The purpose of their ad(s) was to locate prostitutes and sex traffickers who were owed money.
To maximize the number of interested criminal prostitutes and sex traffickers, conspirators agreed to represent
the prostitutes and sex traffickers with no money out of pocket by providing legal representation. This may
involve a contingency percentage paid to the law firm(s), along with the referrals that will come in from word of
mouth within the prostitution and sex trafficking industry. These referrals create opportunities for more
contingency agreements and more referrals. These relationships will generate revenue for Sher Tremonte LLP;
Tor Ekeland Law PLLC; and Argentino, Fiore Law Advocacy LLC as the "go to" law firms for any and all legal
and collection services needed by prostitutes and sex traffickers. This scheme allows these lav, firms to generate
significant revenue in an untapped multi-billion dollar industry, "the prostitution and sex traffi;;king industry."

   Per Federal Agent's notes in document re: 343-NK-2955903, dated 8/29/2019, the Agent ,v'for.e:
              "A July 2019 post on the SexWorkersOnly sub-Reddit and a blog on p )St on
            www.maggiemcneill.wordpress.com/2019/6/24/joey-the-player indicated that the faw flrm
            ~~;~~~;i was looking for victims of Torres in order to initiate a civil lawsuit. A re, ie\•. of
           !1:'~;,::1:~··-~1 confirmed that the contact information given is for ............... and~~-"
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    The above blog refers to Sher Tremonte LLP and Sher Tremonte attorneys.

     Given that Sher Tremonte was unsuccessful in their attempt to sue the plaintiff, Jose Torres, in 2019, co-
conspirator Sher Tremonte utilized and influenced a former employee of Sher Tremonte, Emma S. Spiro, who
left Sher Tremonte on or about June 7, 2019 and began working as an Assistant United States Attorney for the
District of New Jersey on June 24, 2019. In furtherance of the conspiracy, Emma Spiro then proceeded to use
the United States Department of Justice resources and agents to locate more prostitutes engaged in illegal
prostitution in violation of USCS § 2422(a). The relationship with Emma Spiro creates the significant benefit to
the co-conspirators because A.U.S.A. Emma Spiro can then prosecute "johns" criminally while the prostitutes
and sex traffickers that retained the law firms would receive a financial benefit under the Crime Victims' Rights
Act (CVRA) and the Mandatory Victims Restitution Act (MYRA) in the form of restitution. Sher Tremonte used
their government connection, Emma Spiro, as a way for Torres to pay his illegal prostitution debt.

    Sher Tremonte and co-conspirators further goal is to locate "johns" who are wealthy citizens, public figures,
government officials, politicians or professionals who the prostitutes and the co-conspirators believe have the
financial means to pay out judgments to Sher Tremonte and their co-conspirators. These prostitutes charge as
much as $1,200 per hour for their basic prostitution services while running scams on "johns" using pressure
tactics, "bait and switch" and unreasonable upsells.

   The conspirators knowingly took these actions in violation of USCS § 1956(h), Federal Money Laundering
and were fully aware that the prostitutes were violating criminal statutes USCS § 2422(a), along with other state
prostitution and sex trafficking statutes, including N.J.S.A. 2C:34-1 Promotion of Prostitution.

    In order for the plaintiff to prove a RICO substantive act under Title 18 U.S.C.S. §l962(c), the plaintiff must
prove each of the following elements. This charge pertains only to Sher Tremonte LLP and their attorneys listed
on this complaint.

    First, you must find the existence of an enterprise. The law firms are operating as legal entities representing
    clients in civil and criminal matters. The law firms are located in NYC, NY and Montclair, NJ
   Second, you must find that the enterprise engaged in, or had some effect on, interstate or foreign commerce.
   All ofthe law firms I attorneys engaged in telephone interviews with the prostitutes and sex traffickers,federal
   agents, and A. US.A. Emma Spiro. The prostitutes and sex traffickers are located in Hawaii, Nevada, New
   York, and Canada.
   Third, you must find that [name of defendant] was employed by or associated with the alleged enterprise. All
   of the defendants are either owners and/or employees of the enterprise. Therefore, the attorneys are all
   associated with the enterprise.
   Four, you must find that [name of defendant] participated, either directly or indirectly, in the conduct of the
   affairs of the enterprise. All of the defendants/attorneys participate directly in the affairs of the enterprise.
   And fifth, you must find that [name of defendant] participated through a pattern ofracketeering activity. All
   of the defendants/attorneys engaged in a pattern of racketeering activity by engaging in substantive acts to
   collect unlawful debt derived from criminal actively, namely prostitution and sex trafficking.
    For every one of the defendants, Sher Tremonte LLP and their attorneys, listed on this complaint, the plaintiff
can prove at trial beyond a reasonable doubt each of the elements listed above.
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     In order for the plaintiff to prove a RICO conspiracy under Title 18 U.S.C.S. 1962(d), the J1lahtiff most prove
each of the following two elements by a preponderance of the evidence. This charge pertains to ,iverJ · defendant
listed on this complaint.

    First, you must find that two or more people agreed to try to accomplish an unlawful I lar to engage in a
    pattern of racketeering activity. Attorney(s) engaged in the unlawful plan to collect unlc wJ\' il dehts derived
    from illegal prostitution and sex trafficking.
    And second, you must find that the conspirators agreed to the overall objective of th,: ei,nspiracy. The
    attorneys and the prostitutes and/or sex traffickers knowingly agreed to engage in the coileci'ion of unlawful
    debt derived from the illegal commercial sex industry.
    Or as an alternative to the second element, you must find that a defendant agreed with at le.1st one another
    defendant to commit two predicate acts as part of the conspiracy.

    For every one of the defendants listed on this complaint, the plaintiff can prove at trial by ,L pr ~ponderance of
    the evidence each of the elements listed above.


(b) Identify each person or entity who entered into or participated in the c·onspiracy - Set
    forth the factual basis for the allegations that: a. such conspiracy existed; b. certain acts done
    in furtherance of it were done wilfully, intentionally and maliciously with tte intent to harm
    the plaintiff and/or to benefit the defendants and others, including the co-consp trators, at the
    expense of the plaintiff.

CO-DEFENDANT - SHER TREMONTE LLP
     Sher Tremonte LLP is a small law firm comprised of 24 to 26 attorneys and is located c't 9 Broad Street,
                                                                                                       1
                                                                                                           )



New York, New York. In or around June 2019 Sher Tremonte knowingly initiated communication with various
prostitutes and sex traffickers who felt that they were owed money by Jose Torres for their Jkl~al prostitution
services. Sher Tremonte then posted a national internet advertisement searching for more 1JfOstitutes and sex
traffickers who alleged were owed money by Jose Torres. Sher Tremonte further comniw1cated with an
organization called the "Sex Workers Outreach Program" (SWOP) to entice and to get assistarn :e in locating more
prostitutes "potential clients" that Torres owed money to. Sher Tremonte was fully aware that the prostitutes and
sex traffickers they were sourcing were involved in criminal activity. All of Sher Tremonte' s actions were/are
done willfully, intentionally, and maliciously with the intent to harm the plaintiff, Jose Torres.

    Sher Tremonte, as a law firm, must review and approve all new clients and check for "conflicts of interest"
and other legal pitfalls. Sher Tremonte nonetheless ignored the fact that these new clients were im :,lved in illegal
sex activities, such as sex trafficking and illegal prostitution. Sher Tremonte instead moved f mvard and signed
legal representation agreements with the prostitutes and sex trafficker(s). All of Sher Tremonte s a,:tion:s were/are
done willfully, intentionally, and maliciously with the intent to harm the plaintiff, Jose Torres.
    To further the illegal collections, Sher Tremonte hatched a scheme and utilized their forme · employee Emma
S. Spiro to initiate a criminal complaint against the first "john" in their scheme to attempt to c rea:e a conviction
that would generate revenues via restitution and civil lawsuits that generally follow a criminal co,1viction, along
with capturing the prostitution industry, which would generate revenues by representing other l >ro · titut,.~s and sex
traffickers in similar or unrelated civil and criminal matters. Emma Spiro then searched feder 11 i :atut,.~s to twist
the 2422(a) statute to attempt to apply it to a "john", in the hope of creating a criminal convictior. While extensive
case law of over 112 years shows that the statute does not apply to "johns", the hope was that :he first defendant
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would fold quickly, creating a conviction, which would allow Sher Tremonte to move in with their civil lawsuits
and be deemed as the "go to law firm" for collecting criminal debt derived from the prostitution and sex trafficking
industry. All of Sher Tremonte's actions were/are done willfully, intentionally, and maliciously with the intent
to harm the plaintiff, Jose Torres.

     Sher Tremonte further conspired with the prostitutes, sex traffickers, A.U.S.A. Emma Spiro, FBI Agent
Michael A. Scimeca and DHS Ronald Conyers to manufacture, concoct, and create false narratives of violence
by the "john" in order to attempt to create public outrage, disparage the defendant in his criminal case, and color
the Federal Judges. This deceptive act of falsely creating a violence distraction is supported by documented
evidence from the prostitutes and sex traffickers' posts and communications in online forums which are currently
displayed on the internet as we speak and also included in Torres' discovery. Discovery in the case will further
supplement the evidence by showing that Sher Tremonte and the Sex Workers Outreach Program pushed the
traffickers and prostitutes to spread this false content in various online forums, including but not limited to
Twitter, Y ouTube, Badboys.com, joeytheplayer.com. The prostitutes, sex traffickers, and the Sex Workers
Outreach Program with the advice of Sher Tremonte disparaged Torres online to further their deception.
Discovery evidence indicates Emma Spiro was also involved in this deception as the deception commenced prior
to and after Emma Spiro left Sher Tremonte LLP on Friday, June 7th , 2019 and while Emma Spiro was between
jobs, transitioning between Sher Tremonte and the Government. All of Sher Tremonte's actions were/are done
willfully, intentionally, and maliciously with the intent to harm the plaintiff, Jose Torres.

   Sher Tremonte has current legal representation agreements with the following prostitutes and sex traffickers.
Additional unknown uncharged prostitutes may exist that are represented by Sher Tremonte.

    (1)   PROSTITUTE "Linds~y B." aka Marie Sinclair.
    (2)   PROSTITUTE "Katherine L." aka Mareka
    (3)   PROSTITUTE "Chelsea L." aka Dorothy Gale
    (4)   PROSTITUTE "Anna T." aka Ivy Rose
    (5)   PROSTITUTE "Abigail"
    (6)   PROSTITUTE "Allison"
    1) Lindsey B., 2) Katherine L., 3) Chelsea L., 4) Anna T., 5) Abigail, and 6) Allison engaged in an overnight
prostitution date with Jose Torres on May 27, 2015, October 19, 2019, May 20, 2018, November 18, 2015, August
25, 2019, and April 7, 2014, respectively.

     Sher Tremonte's RICO conspiratorial agreement is to assist in the collection of criminal debt derived from
prostitution, namely USCS § 2422(a) and N.J.S.A. 2C:34-1 Promotion of Prostitution. Conspiring and engaging
in substantive acts to collect ill-gotten debt from criminal activity is in violation of USCS § l 956(h) Conspiracy
to Money Laundering and Title 18 U.S.C.S. 1962(c) and (d). Sher Tremonte is further in violation ofUSCS § 2
Aiding and Abetting USCS § 2422(a). Sher Tremonte continues the criminal enterprise with the above acts and
amongst the co-conspirators to the present date of the filing of this complaint. Sher Tremonte LLP's penetration
of this untapped multi-billion dollar market would further Sher Tremonte LLP's reputational and financial benefit
to the law firm through the collection of criminal debt and securing the position as the "go to law firm" for the
sex trafficking and prostitution industry in the United States.


Sher Tremonte signed a legal representation agreement with prostitute, "LINDSEY B." aka MARIE
SINCLAIR, to collect criminal debt derived from her illegal prostitution business
   "Lindsey B." signed a legal representation agreement with co-conspirator Sher Tremonte LLP in or around
November 2019 to assist in the collection of criminal prostitution debt. This debt would be collected through the
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CVRA and MYRA restitution as long as "Lindsey B." assists in the prosecution of the fost 'john" that· was
targeted. Further revenue is to be generated by lawsuits that generally follow after a crimind c11nviction of the
given "john", along with other revenues from other prostitutes and sex traffickers, relating to i im lar or unrelated
civil and criminal matters the prostitutes and sex traffickers may need. All of Sher Tremonte 's CtCtions were/are
done willfully, intentionally, and maliciously with the intent to harm the plaintiff, Jose Torres

    Prostitute Lindsey B., aka Marie Sinclair, is still engaged in illegal prostitution in violatio 1 0:1 USCS 2422(a)
punishable by a term ofup to 20 years imprisonment, along with N.J.S.A. 2C:34-1 Promotio1 ol°Prostitution in
the 2nd degree, punishable by a term of 5 to 10 years. Evidence within the case of United States v. Torres (Case
#: 20-CR-418 BRM) provides clear and convincing evidence that "Lindsey B." had committt.:d the criminal
elements in violation of these statutes. Lindsey B. is represented by Sher Tremonte LLP, I\ oam K. Biale, and
Anna M. Estevao.

    "Lindsey B." posted sexually explicit and nude internet advertisements on Backpage.com to solidt "johns"
for her illegal prostitution business. Evidence within the Torres case confirms that Lindsey B. performed sex acts
within the State of New Jersey and allegedly traveled from New York State to do so. "Lind~.ey B." is currently
promoting her prostitution business through her own personal website www.missmariesinc .air or via another
personal prostitution website, twitter - @KittyKatMarieS, Instagram, and Eros.com. The ev dence is clear and
convincing that she is currently in the illegal prostitution business. Lindsey B. has posted 1 ate>: of $1,200 per
hour, $2,000 for two hours, and $1,000 per hour for each additional hour.

    "Lindsey B." made false statements to law enforcement stating that she flew out from Las Vegas on May 27,
2015 to New Jersey specifically to meet with the "john" Jose Torres who found her online 01t "hackpage.com".
However, later interviews with this prostitute showed that she had in fact met the "john" while she was in New
York City "visiting" the area to promote her illegal prostitution business from a backpage.com ad\. ertisement that
Lindsey B. posted to drum up local business.

    "Lindsey B." made a post on whocallsme.com on May 28, 2015 stating that she has an uncollected debt from
Jose Torres from her illegal prostitution business. This said criminal prostitution debt is the debt that Lindsey B.
conspired with the co-conspirators to collect. Lindsey B. even uses the term "raping" as a manner of saying that
she was not paid and discusses the details that the transfer of $9,800 did not arrive. This said debt is part of the
money laundering scheme that was hatched directly with Sher Tremonte LLP, Noam Biale, Anna Estevao, Justin
Sher, Michael Tremonte and their co-conspirators.

    Upon Lindsey B. 's return to Las Vegas four days later, Lindsey filed a police report on Jure I , 2015 with the
Las Vegas Metropolitan Police Department that she is owed a debt of $9,800 by "Joey" or "Jose Torres". While
Torres drove Lindsey B. after the encounter to a local cab company over 6 miles away from T,>m:s' location and
she had benevolent communication with Torres after she was dropped off, within the Las Veg,:s police report
Lindsey B. bolsters her report with false accusations of violence. In fact Lindsey B. was tryirg t.> find a way to
collect the $9,800 debt. This was solved with the hiring of Sher Tremonte LLP sometime in or an·und June 2019
to collect the criminal debt.

    Lindsey B. furthers the deception with a post made online via her twitter account @KittyJ~at\1aricS on July
18, 2019 that Torres met her in Las Vegas in July 2019 and sexually assaulted her. However, th~ one and only
time Torres traveled to Las Vegas was around 2013. Torres met Lindsey B. for the first time in May 2015 and
that was in New Jersey. Torres never met Lindsey B. ever again other than the one time in 2015. The statement
was another bald faced lie.
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    Lindsey B.'s agreement is to provide Sher Tremonte LLP and co-conspirators with the $9,800 of criminal
debt from her illegal prostitution business for co-conspirators to collect. Lindsey B. is further in violation of
USCS § 2422(a) and N.J.S.A. 2C:34-1 Promotion of Prostitution, along with Conspiracy to Money Laundering
in violation of USCS § 1956(h).


Sher Tremonte signed a legal representation agreement with prostitute, "KATHERINE L." aka
MAREKA, to collect criminal debt derived from her illegal prostitution business
    "Katherine L." signed a legal representation agreement with co-conspirator Sher Tremonte LLP in or around
October 30, 2019 to assist in the collection of criminal debt derived from prostitution. This debt would be
collected through the CYRA and MYRA restitution as long as "Katherine" assists in the prosecution of the first
"john" that was targeted. Further revenue is to be generated by lawsuits that generally follow after a criminal
conviction, along with other revenues from other prostitutes and sex traffickers, relating to similar or unrelated
civil and criminal matters the prostitutes and sex traffickers may need.

    Prostitute "Katherine L." aka Mareka was engaged in illegal prostitution in violation of USCS 2422(a)
punishable by a term ofup to 20 years imprisonment, along with N.J.S.A. 2C:34-1 Promotion of Prostitution in
the 2nd degree, punishable by a term of 5 to 10 years. Evidence within the case of United States v. Torres (Case
#: 20-CR-418 BRM) provides clear and convincing evidence that "Katherine L." had committed the criminal
elements in violation of these statutes.

    "Katherine L." posted sexually explicit and nude internet advertisements on highsociety.com and ems.com to
solicit "johns" for her prostitution business. Evidence within the Torres case confirms that Katherine performed
sex acts within the State of New Jersey and traveled from Toronto, Canada to do so.

    "Katherine L." provided Sher Tremonte LLP with a check, dated October 20, 2019, check# 5500, as the
financial instrument for confirmation of the criminal debt that her co-conspirators were to collect.

    Katherine L. 's agreement is to provide Sher Tremonte and co-conspirators with $20,000 allegedly owed by
Jose Torres in debt of her criminal prostitution business for Sher Tremonte to collect. Katherine L. is further in
violation of USCS § 2422(a) and N.J.S.A. 2C:34-1 Promotion of Prostitution, along with Conspiracy to Money
Laundering in violation of USCS § 1956(h).


Sher Tremonte signed a legal representation agreement with prostitute, "CHELSEA L." aka DOROTHY
GALE, to collect criminal debt derived from her illegal prostitution business
    "Chelsea L." signed a legal representation agreement with co-conspirator Sher Tremonte LLP in or around
October 4, 2019 to assist in the collection of criminal debt. This debt would be collected through the CYRA and
MYRA restitution as long as "Chelsea L." assists in the prosecution of the first "john" Jose Torres. Additional
revenue is to be generated by Sher Tremonte through civil lawsuits that generally follow after a criminal
conviction and from new clients "prostitutes" and "sex traffickers" that would need Sher Tremonte's legal and
collection services. All of Sher Tremonte's actions were/are done willfully, intentionally, and maliciously with
the intent to harm the plaintiff, Jose Torres.

   Prostitute "Chelsea L." aka Dorothy Gale is engaged in the illegal prostitution business in violation of USCS
2422(a) punishable by a term of up to 20 years imprisonment, along with N.J.S.A. 2C:34-1 Promotion of
Prostitution in the 2nd degree, punishable by a term of 5 to 10 years. Evidence within the case of United States
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v. Torres (Case#: 20-CR-418 BRM) provides clear and convincing evidence that "Chelsea L.'' had committed
and continues to commit the criminal elements in violation of these statutes.

    "Chelsea L." posts sexually explicit internet advertisements on eros.com and tryst.com tc so icit ''johns" for
her illegal prostitution business. Evidence within the Torres case confirms that "Chelsea L." per :ormed sex acts
within the State of New Jersey and allegedly traveled from New York State to do so. "Chel ;ea L." is currently
promoting her prostitution business through tryst.com. The evidence is clear and convincin1: t1J.1t Chelsea L. is
currently in the illegal prostitution business. Chelsea L. has posted rates of $800+ per 1our for her basic
prostitution services.

    "Chelsea L." made statements to federal agents on October 4, 2019 that she is owed $1 ~· ,50) by the "john"
Jose Torres.

    Chelsea's agreement is to provide Sher Tremonte and co-conspirators with $12,500 in d ~bt of her criminal
prostitution business for Sher Tremonte to collect. Chelsea L. is further in violation of USCS § 2422(a) and
N.J.S.A. 2C:34-1 Promotion of Prostitution, along with Conspiracy to Money Laundering in violation of USCS
§ 1956(h).



Sher Tremonte signed a legal representation agreement with prostitute, "ANNA T." aka IVY ROSE, to
collect criminal debt derived from her illegal prostitution business
    "Anna T." signed a legal representation agreement with co-conspirator Sher Tremonte Ll P in or around
August 31, 2020 to assist in the collection of criminal debt. This debt would be collected thro11gl1 the CVRA and
MVRA restitution as long as "Anna" assists in the prosecution of the first "john" that wa; ta rgekd by Sher
Tremonte LLP. Further revenue is to be generated by subsequent lawsuits that would follc w ,Lfter a criminal
conviction of the given "john", along with other revenues from other prostitutes and sex tra :liCcers relating to
similar or unrelated civil and criminal matters the prostitutes and sex traffickers may need. All, ,fS 1er Tremonte's
actions were/are done willfully, intentionally, and maliciously with the intent to harm the plai:1tif1: Jose Torres.

    Prostitute Anna T. aka Ivy Rose is engaged in illegal prostitution in violation of USCS 242 2(a I punishable by
a term of up to 20 years imprisonment, along with N.J.S.A. 2C:34-1 Promotion of Prostitution in the 2 nd degree,
punishable by a term of 5 to 10 years. Evidence within the case of United States v. Torres (Ca~,,:#: 20-CR-418
BRM) provides clear and convincing evidence that "Anna T." had committed the criminal elt mt 1ts in violation
of these statutes.

     "Anna T." posted sexually explicit internet advertisements on eros.com to solicit "johns" :or lier prostitution
business. Evidence within the Torres case confirms that Anna T. performed sex acts withir th,: State of New
Jersey and traveled from New York State to do so. "Anna T." is currently promoting her pnsti :ution business
through her own website www.climbingivyrose.com, twitter - @ivyroseNYC, and Instagram -
www.instagram.com/climbingivyrose. The evidence is clear and convincing that Anna T. s , urrently in the
illegal prostitution business. Anna T. has posted rates of $1000+ per hour for her basic prostit llti, n se:-vices.

    "Anna T." made statements to federal agents on October 4, 2019 that she is owed $11,000 by :he "~ ohn" Jose
                                                                                                          1




Torres.

   Anna T. 's agreement is to provide Sher Tremonte and co-conspirators with $11,000 in dt ht )f her criminal
prostitution business for Sher Tremonte LLP to collect. Anna T. is further in violation of U~ CS § 2422(a) and
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N.J.S.A. 2C:34-1 Promotion of Prostitution, along with Conspiracy to Money Laundering in violation of USCS
§ 1956(h).




JUSTIN M. SHER, ESQUIRE: CO-DEFENDANT
   Justin Sher is an attorney and co-founding partner of Sher Tremonte LLP. As a co-founding partner of Sher
Tremonte LLP and given the size of the law firm, Justin Sher manages all aspects of the firm and would have full
knowledge and would have given approval for a venture of this magnitude that would create such a significant
impact on the revenues, reputation, and financial benefits to Sher Tremonte LLP.

     Justin Sher directs Noam K. Biale and Anna M. Estevao, attorneys that are employed by Sher Tremonte LLP,
in their actions to further the criminal enterprise and creating a new source of revenue in the untapped multi-
billion dollar prostitution and sex trafficking industry. Successful penetration of this untapped multi-billion dollar
market would further Justin Sher's professional, financial, and reputational benefit to himself and his law firm
through the collection of criminal debt and securing the position as the "go to law firm" for the sex trafficking
and prostitution industry in the United States.

    Given the size of Sher Tremonte, Justin Sher interviewed and/or approved Emma Spiro's employment with
Sher Tremonte. When Emma Spiro was employed at Sher Tremonte, Emma Spiro worked together with Justin
Sher on criminal and civil cases. For example: United States v. Dumitru, 2018 U.S. Dist. Lexis 110285 and Kat
Florence Design Limited v. Parker et al (April 2018), to name a few. Justin Sher was Emma Spiro's indirect or
direct supervisor when Emma Spiro worked at Sher Tremonte.

    While Michael Tremonte's involvement in this RICO conspiratorial agreement is purposely choreographed
to appear to be non-existent, it is purposely set up this way to give the appearance that Michael Tremonte is a
non-participant of this high orchestrated scheme.

    Justin Sher's RICO conspiratorial agreement is to assist in the collection of debt of criminal activity from the
prostitution and sex trafficking industry, namely USCS § 2422(a) and N.J.S.A. 2C:34-1 Promotion of Prostitution.
This collection of ill-gotten debt of criminal activity is in violation of USCS § 1956(h) Conspiracy to Money
Laundering and Title 18 U.S.C.S. 1962(c) and (d). Justin Sher is further in violation of USCS § 2 Aiding and
Abetting USCS § 2422(a). Justin Sher continues the criminal enterprise with the above acts and amongst the co-
conspirators to the present date of the filing of this complaint.


MICHAEL TREMONTE, ESQUIRE: CO-DEFENDANT
    Michael Tremonte is an attorney and co-founding partner of Sher Tremonte LLP. As a founding partner of
Sher Tremonte LLP and given the size of the law firm, Michael Tremonte manages all aspects of the firm and
would have full knowledge and would have given approval for a venture of this magnitude that would create such
a significant impact on the revenues of Sher Tremonte LLP. All of Michael Tremonte's actions were done
willfully, intentionally, and maliciously with the intent to harm the plaintiff, Jose Torres.

     Michael Tremonte directs Noam Biale and Anna Estevao, attorneys that are employed by Sher Tremonte LLP,
in their actions to further the criminal enterprise and creating a new source of revenue in the untapped multi-
billion dollar prostitution and sex trafficking industry. Successful penetration of this untapped multi-billion dollar
market would further Michael Tremonte's professional, financial, and reputational benefit to himself and his law
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firm through the collection of criminal debt and securing the position as the "go to law firm" f01 the sex trafficking
and prostitution industry in the United States.

   Given the size of Sher Tremonte, Michael Tremonte interviewed and/or approved Emma S Jin 1's employment
with Sher Tremonte. When Emma Spiro was employed at Sher Tremonte, Emma Spiro wo rkd together with
Michael Tremonte on criminal cases. For example, United States v. Person, 373 F. Supp. : d 452 (Jan 2019).
Michael Tremonte was Emma Spiro's indirect or direct supervisor when Emma Spiro worked at ,;her Tremonte.

    While Michael Tremonte's involvement in this RICO conspiratorial agreement is purpos;:ly choreographed
to appear to be non-existent, it is purposely set up this way to give the appearance that Micltacl Tremonte is a
non-participant of this high orchestrated scheme.

    Michael Tremonte's RICO conspiratorial agreement is to assist in the collection of debt c.f criminal activity
in the prostitution and sex trafficking industry, namely USCS § 2422(a) and N.J.S.A. 2C::i4-l Promotion of
Prostitution. This collection of ill-gotten debt of criminal activity is in violation of USCS § 1 ~56(h) Conspiracy
to Money Laundering and Title 18 U.S.C.S. 1962(c) and (d). Michael Tremonte is further in violation ofUSCS
§ 2 Aiding and Abetting USCS § 2422(a). Michael Tremonte continues the criminal enterpr.se with the above
acts and amongst the co-conspirators to the present date of the filing of this complaint.


NOAM KORATI BIALE, ESQUIRE: CO-DEFENDANT
    Noam Korati Biale is an attorney, founding member, and employee of the law firm of Sber ~remonte LLP.
Noam Biale has a close relationship with Justin Sher and/or Michael Tremonte and others in th;: law firm. Noam
Biale is actively engaged with sourcing and communicating with illegal sex traffickers and pr >sti :utes who need
debt collection services derived from their criminal business activities. Noam Biale is involved v.ith the process
of signing legal representation agreements with known criminals, prostitutes and sex trafficken. }. oam Biale also
approves and assists in the posting of internet advertisements and creating deceptive narratives to support the
criminal enterprise. All of Noam Biale's actions were/are done willfully, intentionally, and m ili.: lously with the
intent to harm the plaintiff, Jose Torres.

    Noam Biale himself further engaged in continuing the criminal enterprise by having ongoilg communication
with A.U.S.A. Emma S. Spiro to get involved in the conspiracy, as Noam Biale was Emma Spiro's direct or
indirect supervisor when Emma Spiro was employed by Sher Tremonte LLP. When Emma S11irc, was employed
at Sher Tremonte, Emma Spiro and Noam Biale worked together on criminal cases. For exan.pk, United States
v. Galanis (1:16-Cr-00371 2018) and United States v. Hirst, to name a few. Noam Biale also intciviewed Emma
Spiro and/or approved her employment at Sher Tremonte.

    While Emma Spiro's involvement appears to be a clear and direct conflict of interest, Noam Biale's and Emma
Spiro's relationship and any secretive agreements that Biale and Spiro may have fuels Emma Spiro to use the
power of the federal government to assist in the process of furthering Noam Biale' s professic nal. financial, and
reputational benefit to himself and his law firm through the collection of criminal debt and se, uri 1g the position
as the "go to law firm" for the sex trafficking and prostitution industry in the United States. A 1 c,:'Nm1m Biale's
actions were/are done willfully, intentionally, and maliciously with the intent to harm the plait tit, Jos.;;: Torres.

    Noam Biale participated in telephone interviews on October 2, 2019, October 4, 2019, )cl,>ber 30, 2019,
                                                                                                  1


November 20, 2019, February 3, 2020, April 22, 2020, May 12, 2020, and September 24, 2020 to name a few of
the interviews Noam Biale had with the federal investigators working with and for Emma Spiro, in furtherance
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of the conspiracy, to initiate a criminal complaint against the first "john" in the scheme. Emma Spiro was also a
participant on all of the interviews with the co-conspirators, federal agents, prostitutes, and sex traffickers. All
of Noam Biale's actions are done willfully, intentionally, and maliciously with the intent to harm the plaintiff,
Jose Torres.

    This criminal complaint against Jose Torres greatly assists Noam Biale in furtherance of the criminal
enterprise by attempting to create a conviction that would generate millions in revenue through restitution, civil
lawsuits that follow a criminal conviction, and other revenues stemming from representing prostitutes and sex
traffickers from similar and/or unrelated civil and criminal matters.

    Noam K. Biale's RICO conspiratorial agreement is to assist in the collection of debt of criminal activity,
namely USCS § 2422(a) and N.J.S.A. 2C:34-1 Promotion of Prostitution. This collection of ill-gotten debt from
criminal activity is in violation of USCS § 1956(h) Conspiracy to Money Laundering and Title 18 U.S.C.S.
1962(c) and (d). Noam K. Biale is further in violation ofUSCS § 2 Aiding and Abetting USCS § 2422(a). Noam
Biale continues the criminal enterprise with the above acts and amongst the co-conspirators to the present date of
the filing of this complaint.


ANNA MARIA ESTEVAO, ESQUIRE: CO-DEFENDANT
    Anna Maria Estevao is an associate attorney and employee of Sher Tremonte LLP, and co-counsel for the
prostitutes who have signed legal representation agreements with Sher Tremonte. Anna Estevao is actively
engaged with sourcing and communicating with illegal prostitutes and sex traffickers who need debt collection
services derived from their criminal business activities. Anna Estevao was also involved in the interactions related
to the posting of internet advertisements to source more prostitutes and sex traffickers who were owed money by
the "john", Jose Torres. All of Anna Estevao's actions were/are done willfully, intentionally, and maliciously
with the intent to harm the plaintiff, Jose Torres.

     Anna Estevao participated in telephone interviews on October 2, 2019, October 4, 2019, October 30, 2019,
November 20, 2019, February 3, 2020, April 22, 2020, May 12, 2020, and September 24, 2020 to name a few of
the interviews Anna Estevao had with the federal investigators working with and for Emma Spiro, in furtherance
of the conspiracy, to initiate a criminal complaint against the first "john" in the scheme. Emma Spiro was also a
participant in the interviews with the federal agents. This criminal complaint greatly assists Anna Estevao in
furtherance of the criminal enterprise by attempting to create a conviction that would generate revenue through
restitution, civil lawsuits that generally follow a criminal conviction, and other revenues stemming from
representing prostitutes and sex traffickers from similar and/or unrelated civil and criminal matters. All of Anna
Estevao's actions are done willfully, intentionally, and maliciously with the intent to harm the plaintiff, Jose
Torres.

    Successful penetration of the untapped multi-billion prostitution and sex trafficking market would further
Anna Estevao' s professional, financial, and reputational benefit to herself and her law firm through the collection
of criminal debt. Successful penetration of this market would also secure Sher Tremonte a position as the "go to
law firm" for the sex trafficking and prostitution industry in the United States.

   When Emma Spiro was employed by Sher Tremonte, Emma Spiro also worked together with Anna Estevao.
Given that Anna Estevao is one of two counsels representing the prostitutes in United States v. Torres (Cr: 20-
418 (BRM)), Anna Estevao' s actions appear to be a clear conflict of interest.
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    Anna Estevao's RICO conspiratorial agreement is to assist in the collection of debt der ve,J from criminal
activity, namely USCS § 2422(a) and N.J.S.A. 2C:34-1 Promotion of Prostitution. This coliect1on of ill-gotten
debt of criminal activity is in violation ofUSCS § 1956(h) Conspiracy to Money Laundering ard] ttle 18 U.S.C.S.
1962(c) and (d). Anna Estevao is further in violation of USCS § 2 Aiding and Abetting USCS ~ 2422(a). Anna
Estevao continues the criminal enterprise with the above acts and amongst the co-conspirator~ to :he present date
of the filing of this complaint.


TOR EKELAND LAW PLLC: CO-DEFENDANT
    Tor Ekeland Law PLLC is a very small law firm located at 30 Wall Street, New York, New York. Tor Ekeland
Law PLLC signed a legal representation agreement with a sex trafficker named "Sarah P." "ho Torres engaged
in prostitution with sometime in December 2015. All of Tor Ekeland Law PLLC's acti1ms were/are done
willfully, intentionally, and maliciously with the intent to harm the plaintiff, Jose Torres.

    Tor Ekeland Law PLLC, as a law firm, must review and approve all new clients and check for legal pitfalls,
such as not engaging in the collection of unlawful debt derived from criminal activity. Ho~ ev(r, Tor Ekeland
Law PLLC knowingly bypassed this legal pitfall and knowingly engaged in the conspiracy to rt ·present prostitutes
and sex traffickers to collect unlawful debt derived from criminal activity. All of Tor Eke land Law PLLC's
actions were/are done willfully, intentionally, and maliciously with the intent to harm the plahtif1: Jose Torres.

     "Sarah P." refers prostitutes to "johns" and makes income off of her trafficking of other Jro::tituti~s. Sarah
P. referred "Lindsay R." and "Anant S." to the given "john" Jose Torres to engage in an ovt mti~ht prostitution
date with Torres on December 9th and December 10th , 2015, respectively.

    Tor Ekeland Law PLLC's agreement is to assist in the collection of debt derived from cr:minal activity,
namely USCS § 2422(a) and N.J.S.A. 2C:34-1 Promotion of Prostitution. This collection of i 1-g.,tten debt from
criminal activity is in violation of USCS § I 956(h) Conspiracy to Money Laundering and in v ola:ion ,Jf Title 18
U.S.C.S. 1962(d). Tor Ekeland Law PLLC is further in violation of USCS § 2 Aiding and Abetting USCS §
2422(a). Tor Ekeland Law PLLC continues the criminal enterprise with the above acts an i a:nongst the co-
conspirators to the present date of the filing of this complaint.

    Successful penetration of this untapped multi-billion dollar market would further Tor Ekdand Law PLLC's
financial and reputational benefit through the collection of criminal debt derived from illegal sec acts and securing
the position as a "go to law firm" for the sex trafficking and prostitution industry in the Unitec Stttes.


Tor Ekeland Law PLLC signed a legal representation agreement with sex trafficker, "SARAH P.", to
collect criminal debt derived from her illegal sex trafficking and prostitution business
     "Sarah P." signed a legal representation agreement with co-conspirator Tor Ekeland Law l'Ll C in or around
November 4, 2019 to assist in the collection of criminal debt. This debt would be collected tmn1gh the CVRA
and MVRA restitution as long as "Sarah P." assists in the prosecution of the first "john" that wa: targeted. Further
revenue is to be generated by subsequent lawsuits that would follow after a criminal convi ;tit:· n of the given
"john" and from other sex traffickers and prostitutes that may need the collection of illegal dc!,t. A.ll of Tor
Ekeland Law PLLC's actions are done willfully, intentionally, and maliciously with the i 1te1 Lt to harm the
plaintiff, Jose Torres.
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    Sex Trafficker "Sarah P." is engaged in illegal prostitution in violation ofUSCS 2422(a) punishable by a term
of up to 20 years imprisonment, along with N.J.S.A. 2C:34-1 Promotion of Prostitution in the 2nd degree,
punishable by a term of 5 to 10 years. Evidence within the case of United States v. Torres (Case#: 20-CR-418
BRM) provides clear and convincing evidence that "Sarah P." had committed the criminal elements in violation
of these statutes.

    "Sarah P." posted sexually explicit internet advertisements on ems.com to solicit "johns" for her sex
trafficking and prostitution business. "Sarah P." further trafficked other women, including "Lindsay R." and
"Anant S.". Evidence within the Torres case confirms that Sarah P. promoted sex acts that occurred in the State
of New Jersey with prostitutes who traveled from New York State to do so. Lindsay R. is not listed on this
complaint as Lindsay R. is not a defendant in this federal civil RICO lawsuit nor is Lindsay R. represented by a
law firm (or attorney), co-defendant.

    In a statement made on September 24, 2020 to federal investigators by "Anant" aka "AK": "AK stated that
she was told by Sarah that a man in New Jersey was paying a lot of money for the company of women. AK stated
that based on what Sarah P. told her about Torres being a "unicorn" client and how she had spent several nights
with Torres and Torres' desire to hire other women and pay a lot of money."

    "Sarah P." is currently promoting her sex trafficking and prostitution business through ems.com and/or
tryst.com.

    "Sarah P." made statements to federal agents on November 24th, 2020 that she is owed "a large sum of money"
by the "john" Jose Torres.

    Sarah P. 's agreement is to provide Tor Ekeland Law PLLC and co-conspirators with debt collection of her
criminal prostitution business. Sarah P. is further in violation ofUSCS § 2422(a) and N.J.S.A. 2C:34-1 Promotion
of Prostitution, along with Conspiracy to Money Laundering in violation of USCS § 1956(h).


TOR EKELAND, ESQUIRE: CO-DEFENDANT
     Tor Ekeland is an attorney and managing partner of Tor Ekeland Law PLLC. Tor Ekeland is involved with
the process of signing a legal representation agreement with the known sex trafficker, "Sarah P.". Given that Tor
Ekeland is an experienced attorney and managing partner of Tor Ekeland Law PLLC, Tor Ekeland certainly
knows that he is involved in a criminal conspiracy, the collection of unlawful debt derived from criminal activities,
illegal prostitution, and sex trafficking business. All of Tor Ekeland Law's actions were/are done willfully,
intentionally, and maliciously with the intent to harm the plaintiff, Jose Torres.

    Tor Ekeland participated in at least one telephone interview on November, 24, 2020 with the federal
investigators working with and for A.U.S.A. Emma Spiro, in furtherance of the conspiracy, and the scheme
against the "john" Jose Torres. This criminal complaint greatly assists Tor Ekeland in furthering the criminal
enterprise by attempting to create a conviction that would generate revenues through subsequent restitution and
further bolster civil lawsuits that generally follow after a criminal conviction. All of Tor Ekeland's actions
were/are done willfully, intentionally, and maliciously with the intent to harm the plaintiff, Jose Torres.

    Tor Ekeland and his law firm Tor Ekeland Law PLLC joined the conspiracy to attempt to penetrate the
untapped multi-billion dollar prostitution and sex trafficking market in the United States. Success penetration of
this market would further Tor Ekeland's financial, professional, and reputational benefit through the collection of
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criminal debt derived from illegal sex acts and would also secure Tor Ekeland Law PLLC a J1os1 tion as a "go to
law firm" for the sex trafficking and prostitution industry in the United States.

    Tor Ekeland's RICO conspiratorial agreement is to assist in the collection of debt derived from criminal
activity, namely USCS § 2422(a) and N.J.S.A. 2C:34-l Promotion of Prostitution. This collection of ill-gotten
debt from criminal activity derived from sex trafficking and/or prostitution is in violation cf 1. ·SCS § 1956(h)
Conspiracy to Money Laundering and Title 18 U.S.C.S. 1962(d). Tor Ekeland is further in v olation of USCS §
2 Aiding and Abetting USCS § 2422(a). Tor Ekeland continues the criminal enterprise with the above acts and
amongst the co-conspirators to the present date of the filing of this complaint.


JESSICA COONROD, ESQUIRE: CO-DEFENDANT
    Jessica Coonrod is an associate attorney and worked under Tor Ekeland's direction uritil January 2021.
Similar to Tor Ekeland, Jessica Coonrod was involved with the process of signing a kgal representation
agreement with the known trafficker, Sarah P. Jessica Coonrod certainly knows that she wa~: involved in a
criminal conspiracy, the collection of unlawful debt derived from her criminal busines~ activitles, illegal
prostitution and sex trafficking business. All of Jessica Coonrod's actions were/are done willJi.ilh', int1~ntionally,
and maliciously with the intent to harm the plaintiff, Jose Torres.

     Through Tor Ekeland, Jessica Coonrod joined the conspiracy to attempt to penetrate He :,ntapped multi-
billion dollar prostitution and sex trafficking market in the United States. A successful pene:rat:on of this new
market would have furthered Jessica Coonrod' s professional, financial, and reputational b ~nf fit through the
collection of criminal debt derived from illegal sex acts and would have secured Tor Ekeland PILC as a "go to
law firm" for the sex trafficking and prostitution industry in the United States.

    Jessica Coonrod's RICO conspiratorial agreement is to assist in the collection of debt o:· criminal activity,
namely USCS § 2422(a) and N.J.S.A. 2C:34-1 Promotion of Prostitution. This collection of i 1-g,.>tten debt from
criminal activity is in violation of USCS § 1956(h) Conspiracy to Money Laundering and Tille 18 U.S.C.S.
1962(d). Jessica Coonrod is further in violation of uses § 2 Aiding and Abetting uses § 24: '.2( . . .).


ARGENTINO, FIORE LAW ADVOCACY LLC: CO-DEFENDANT
     Argentina, Fiore Law Advocacy LLC is a very small family law firm comprised of three :,lu:; attorneys and
is located at 50 Church Street, Suite 106, Montclair, NJ 07042. Argentina, Fiore Law Advoc aq signed a legal
representation agreement with a prostitute by the name of "Anant S.", a prostitute referred to fos,: Torres by the
sex trafficker Sarah P. "Anant S." is a prostitute who is in violation of2422(a) and N.J.S.A. 2C::~4-1 Promotion
of Prostitution. All of Argentino, Fiore Law Advocacy LLC's actions were/are done willfully, im~ntionally, and
maliciously with the intent to harm the plaintiff, Jose Torres.

    Argentino, Fiore Law Advocacy LLC's RICO conspiratorial agreement is to assist in the collecti1Jn of debt
from criminal activity, namely USCS § 2422(a) and N.J.S.A. 2C:34-1 Promotion of Prostitutio 1. fhis collection
of ill-gotten debt derived from criminal activity is in violation of USCS § 1956(h) Con: :pit .icy 1:0 Money
Laundering and Title 18 U.S.C.S. 1962(d). Argentina, Fiore Law Advocacy LLC is further in 1io ation of USCS
§ 2 Aiding and Abetting USCS § 2422(a). Argentina, Fiore Law Advocacy LLC continues the, ri11 inal enterprise
with the above acts and amongst the co-conspirators to the present date of the filing of this cor 1p. tint.
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Argentino, Fiore Law Advocacy LLC signed a legal representation agreement with prostitute, "ANANT
S." aka AK, to collect criminal debt derived from her illegal prostitution business
     "Anant S." signed a legal representation agreement with co-conspirators Argentino, Fiore Law Advocacy
LLC and Frank Morano in or around September 24, 2020 to assist in the collection of criminal debt derived from
prostitution. This debt would be collected through the CVRA and MYRA restitution as long as "Anant S." assists
in the prosecution of the first "john" that was targeted. Further revenue is expected to be generated by Argentino,
Fiore Law Advocacy by subsequent lawsuits that generally follow after a criminal conviction. All of Argentino,
Fiore Law Advocacy's actions were/are done willfully, intentionally, and maliciously with the intent to harm the
plaintiff, Jose Torres.

    Prostitute Anant S. aka "AK" is still engaged in the illegal prostitution business in violation of USCS 2422(a)
punishable by a term ofup to 20 years imprisonment, along with N.J.S.A. 2C:34-l Promotion of Prostitution in
the 2nd degree, punishable by a term of 5 to 10 years. Evidence within the case of United States v. Torres (Case
#: 20-CR-418 BRM) provides clear and convincing evidence that "Anant S." had committed the criminal elements
in violation of these statutes.

    "Anant S." was sent by a sex trafficker by the name of "Sarah P." to meet with the "john" Jose Torres for her
illegal prostitution business that was advertised on ems.com. Evidence within the Torres case confirms that
"Anant S." performed sex acts within the State of New Jersey and traveled from New York to do so. Anant S.'s
travel was paid by Sarah P., the sex trafficker.

    "Anant S." made a statement to federal agents on September 24, 2020 that she made a Facebook posting on
December 11, 2015 and informed her friends through Facebook about the given "john" and his financial debt to
her and warned others involved in criminal prostitution or trafficking to not get "victimized" by the "john". In
Anant's statement on September 24, 2020, Anant S. stated that she made a Facebook post stating:

           "Can you folks call [the hotel] saying that they know a serial rapist stayed on the 12th floor
           of the hotel last night and they want the hotel to initiate an investigation against him. Please
           don't mention my name. You can call from wherever even if you're not near New Jersey
           and feel free to block your number or hang up mid call or whatever because the message
           will come across to them regardless. They've already received about a half dozen calls
           and seems like they may be taking some action so please keep it coming by making a quick
           call and telling your friends." Anant states that others then re-shared and circulated the post
           requesting these deceptive phone calls be made.

    This shows the mindset of these prostitutes and traffickers as the above statement makes it crystal clear that
they are willing to create bald false allegations of rape and violence in order to attempt to collect their criminal
debt.

    Anant S. additionally stated to the Government that she is owed "a large sum of money", by the given "john"
but "does not know the amount."

    Anant's agreement is to provide Argentino, Fiore Law Advocacy LLC and co-conspirators with debt derived
from her criminal prostitution business for co-conspirators to collect. Anant S. is further in violation of USCS §
2422(a) and N.J.S.A. 2C:34-l Promotion of Prostitution, along with Conspiracy to Money Laundering in violation
of uses§ l 956(h).
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JODI ARGENTINO, ESQUIRE: CO-DEFENDANT
    Jodi Argentino is an attorney and managing partner of Argentino, Fiore Law Advocacy 1 LC Given the size
of the law firm, as a managing partner of Argentino, Fiore Law Advocacy LLC, Jodi Arg !nl1 no manages all
aspects of the firm and would have full knowledge and would have given approval for a venture 01·this magnitude
that could potentially create such a significant impact on the revenues and customer base of At gentino, Fiore Law
Advocacy LLC. All of Jodi Argentino's actions were/are done willfully, intentionally, and rr ahi.:iously with the
intent to harm the plaintiff, Jose Torres.

    Jodi Argentino directs Frank Morano, an attorney and employee of the firm, in the firm'~ adiorn; to further
the criminal enterprise and creating a new source of revenue in the untapped multi-billion dollar prostitution and
sex trafficking industry. Successful penetration of this untapped multi-billion dollar market wclllld farther Jodi
Argentino's professional, financial, and reputational benefit to herself and her law firm through t 1e collection of
criminal debt and also secure Argentino, Fiore Law Advocacy LLC a position as a "go to la'v firm" for the sex
trafficking and prostitution industry. All of Jodi Argentino's actions were/are done willfully irnentionally, and
maliciously with the intent to harm the plaintiff, Jose Torres.

    Jodi Argentino's RICO conspiratorial agreement is to assist in the collection of debt from c:·iminal activity
derived from the prostitution and sex trafficking industry, namely USCS § 2422(a) and N .. f.S.A. 2C:34-1
Promotion of Prostitution. This collection of ill-gotten debt of criminal activity is in violation )fl TSCS § 1956(h)
Conspiracy to Money Laundering and Title 18 U.S.C.S. 1962(d). Jodi Argentino is further in violation of USCS
§ 2 Aiding and Abetting USCS § 2422(a). Jodi Argentino continues the criminal enterprise Hitl the above acts
and amongst the co-conspirators to the present date of the filing of this complaint.


CELESTE FIORE, ESQUIRE: CO-DEFENDANT
    Celeste Fiore is an attorney and managing partner of Argentino, Fiore Law Advocacy LLC . Ci .ven the size of
the law firm, as a managing partner of Argentino, Fiore Law Advocacy LLC, Celeste Fiore n tarL.tges all aspects
of the firm and would have full knowledge and would have given approval for a venture oft 1is magnitude that
could potentially create such a significant impact on the revenues and customer base of Argent no, Fiore Law
Advocacy LLC. All of Celeste Fiore's actions were/are done willfully, intentionally, and mtlic ously with the
intent to harm the plaintiff, Jose Torres.

    Celeste Fiore directs Frank Morano, an attorney and employee of the firm, in the firm's ac ions to further the
criminal enterprise and creating a new source of revenue in the multi-billion dollar prostitution md sex trafficking
industry. Successful penetration of this untapped multi-billion dollar market would furth !r Celes.te Fiore's
professional, financial, and reputational benefit to herself and her law firm through the collecti, m ,,f criminal debt
and securing the position as a "go to law firm" for the sex trafficking and prostitution industry

   Celeste Fiore's RICO conspiratorial agreement is to assist in the collection of debt of criminal activity in the
prostitution and sex trafficking industry, namely USCS § 2422(a) and N.J.S.A. 2C:34-1 Promot on ,)f Prostitution.
This collection of ill-gotten debt of criminal activity is in violation of USCS § 1956(h) Cor spiracy to Money
Laundering and Title 18 U.S.C.S. 1962(d). Celeste Fiore is further in violation ofUSCS § 2 Ai dins and Abetti.ng
USCS § 2422(a). Celeste Fiore continues the criminal enterprise with the above acts anc amongst the co-
conspirators to the present date of the filing of this complaint.
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FRANK MORANO, ESQUIRE: CO-DEFENDANT
    Frank Morano is an experienced attorney and employee of Argentino, Fiore Advocacy LLC. Frank Morano
is involved with the process of signing a legal representation agreement with the known prostitute, "Anant S."
who saw Torres on November 18, 2015 for an overnight outcall. All of Frank Morano's actions are done willfully,
intentionally, and maliciously with the intent to harm the plaintiff, Jose Torres.

    Frank Morano participated in telephone interviews on September 24, 2020 and October 16, 2020 with the
federal investigators working with and for Emma Spiro, in furtherance of the conspiracy, to add to a criminal
complaint against the first "john" in their scheme. This criminal complaint greatly assists Frank Morano and
Argentino, Fiore Law Advocacy LLC in furtherance of the criminal enterprise by attempting to create a conviction
that would produce revenue through restitution, civil lawsuit(s) that generally follow a criminal conviction and
from other revenues stemming from representing other prostitutes and sex traffickers from similar and/or
unrelated civil and criminal matters. All of Frank Morano's actions were/are done willfully, intentionally, and
maliciously with the intent to harm the plaintiff, Jose Torres.

    Frank Morano joined the conspiracy to create financial, professional, and reputation benefits to himself and
his law firm through the collection of criminal debt. A successful conviction would secure Argentino, Fiore Law
Advocacy LLC the position as a "go to law firm" for the sex trafficking and prostitution industry. This could
significantly increase the revenues of Argentino, Fiore Law Advocacy LLC, change the firm's financial position
and customer base.

    Frank Morano's RICO conspiratorial agreement is to assist in the collection of debt derived from criminal
activity, namely USCS § 2422(a) and N.J.S.A. 2C:34-1 Promotion of Prostitution. This collection of ill-gotten
debt derived from criminal activity is in violation of USCS § 1956(h) Conspiracy to Money Laundering and Title
18 U.S.C.S. 1962(d). Frank Morano is further in violation of USCS § 2 Aiding and Abetting USCS § 2422(a).
Frank Morano continues the criminal enterprise with the above acts and amongst the co-conspirators to the present
date of the filing of this complaint.


(c) Differences - Describe the alleged relationship between the activities of the enterprise and
    the pattern of racketeering activity, and discuss how the racketeering activity differs from
    the usual and daily activities of the enterprise, if at all.

    The activities of the enterprise include the promotion of prostitution and sex trafficking sex services. The
activities also include the collection of illegal debt from criminal activities. Co-conspirators are legitimate law
firms and attorneys attempting to launder money through the collection of unlawful debt. This expanding criminal
enterprise's goal is to open up a new untapped multi-billion dollar market of potential clients thereby creating a
new revenue source for the co-conspirators.

    The enterprises' activities include the utilization of business relationships with a former employee Emma S.
Spiro to initiate criminal charges against the first "john" to assist in the recovery of unlawful money. The
enterprise also uses the Sex Workers Outreach Program to recruit more clients and expand their enterprise. To
promote their services, the enterprise also use internet posts and referrals to recruit new clients, prostitutes and
sex traffickers.

    These law firms present themselves as legitimate law firms while they are attempting to collect criminal debt
derived from the prostitution and sex trafficking industry utilizing legal services representation agreements.
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(d) Benefits received - Describe what benefits, if any, the alleged enterprise n,ce1ves from the
    alleged pattern of racketeering.

    All of the enterprises co-conspirators are law firms and attorneys who have a significa 1t 1pside for their
ongoing racketeering activities. Their upside includes, financial, professional and reputational ber.efits to the I.aw
firms as well as to the attorneys representing the prostitutes and sex trafficker(s).

    Criminal bad debt is an enormous problem in the multi-billion dollar illegal sex trafficking and prostitution
industry. Even a small share of this business for law firms like Sher Tremonte LLP, Tor Ekeland J,aw PLLC, and
Argentino, Fiore Law Advocacy LLC could easily double or triple their annual revenues and 1elated net profits.

    The enterprise makes agreements with sex traffickers and prostitutes who gain the benefit ,)f the collection of
their criminal debt, along with the restitution they hope to win via the Crime Victims' Rights P•.ct ICVRA) and/or
the Mandatory Victims Restitution Act (MYRA), upon getting former Sher Tremonte LLP em::>lo:ree and current
A.U.S.A. Emma Spiro her first conviction of a "john", which could be the first "john" convic·ed in the 112 year
history of the 2422(a) Mann Act statute. This conviction would then open the floodgates for nore prnsecutions
of "johns" who would be funneled from Sher Tremonte, Tor Ekeland Law PLLC, and Argentino, Fiore Law
Advocacy LLC to A.U.S.A. Emma Spiro.

    This Criminal Enterprise is all the more interesting as the collection activity is done at the expense of United
States federal taxpayers with the cost, investigation, and legwork of the FBI, DHS, and thf United States
Attorneys' Office for the District of New Jersey.


(e) Documents - if this allegation is based upon any documents obtained fr.)rn any source,
    identify these documents.

   Extensive documentation and evidence of the racketeering activities by the co-conspin tor,; are available
within the discovery evidence of United States v. Torres (Case#: 20-CR-418 BRM). This eviden1.:e can be made
available by court order within this RICO case. Exhibits are not attached to this complaint becat se most of Torres'
key discovery evidence is under a protective order.

   Specific documents cited, to name a few, include references to the following discovery:

       1.    Lindsey B. - DHS Report of 11/20/2019 interview
       2.    Lindsey B. - DHS Report of 2/3/2020 interview
       3.    Lindsey B. - New Brunswick, NJ Police Report 6/1/2015
       4.    Lindsey B. - Las Vegas Police Report 6/1/2015
       5.    Katherine L. - Calls to and from J.T. 10/19/2020-10/19/2020
       6.    Katherine L. - DHS Report of 10/30/2019 interview
       7.    Katherine L. - DHS Report of 2/3/2020 interview
       8.    Chelsea L. - "Dorothy Gale" Eros prostitution ad
       9.    Chelsea L. - Calls to and from J.T. 5/20/2020 & 5/21/2020
       10.   Chelsea L. - DHS Report of 10/4/2019 interview
       11.   Chelsea L. - DHS Report of 4/22/2020 interview
       12.   Chelsea L. - DHS Report of 5/12/2020 interview
       13.   Anant S. - 302 Report of 9/24/2020 interview
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             14. Anant S. - DHS Report of 9/24/2020 interview
             15. Anant S. - 302 Report of 10/16/2020 interview
             16. Anant S. - J.T. calls to and from Sarah P. 12/9/2015 -12/10/2015
             17. Anant S. - A.S. calls to and from Sarah P.
             18. Anant S. - J.T calls to and from Anant S.
             19. Anant S. - East Brunswick, NJ Police Report, 12/11/2015
             20. Anant S. - Supplemental East Brunswick, NJ Police Report, 12/11/2015
             21. Anna T. - 302 Report of8/31/2020 interview
             22. Anna T. - J.T. emails and text messages with Anna T. from 11/17/2020- 11/18/2020
             23. Anna T. - 11/19/2015 Kings County (Brooklyn, NY) Hospital Report
             24. Anna T. - 11/18/2015 J.T. Hilton Hotel Room Receipt
             25. Anna T. - J.T. TD Bank, Hilton Hotel debit, 11/18/2015
             26. Sarah P. - DHS Report of 11/9/2020 interview
             27. Sarah P. - DHS Report of 11/24/2020 interview
             28. Abigail - DHS Report interview (bate# 36755R - 36757R)
             29. Allison - DHS Report of 10/2/2019 interview

      The above is an abbreviated list of documents referred to in this federal civil RICO complaint.



(f)     Statutes - the specific statutes which are violated.
      Statutes violated by co-defendants include, but are not limited to:

(f)(l) Federal Statute: 2422(a). Coercion and enticement (a) Whoever knowingly persuades, induces, entices,
or coerces any individual to travel in interstate or foreign commerce, or in any Territory or Possession of the
United States, to engage in prostitution, or in any sexual activity for which any person can be charged with a
criminal offense, or attempts to do so, shall be fined under this title or imprisoned not more than 20 years, or both.

(f)(2) Federal Statute: USCS § 2 Aiding and Abetting violation ofUSCS § 2422(a)

      § 2.    Principals
   (a) Whoever commits an offense against the United States or aids, abets, counsels, commands, induces or
procures its commission, is punishable as a principal.
   (b) Whoever willfully causes an act to be done which if directly performed by him or another would be an
offense against the United States, is punishable as a principal.

(f)(3) New Jersey Statute: N.J.S.A. 2C:34-1 Promotion of Prostitution
2C:34-l. Prostitution and related offenses
    a. As used in this section:
      (1) Prostitution is sexual activity with another person in exchange for something of economic value, or the
offer or acceptance of an offer to engage in sexual activity in exchange for something of economic value.
      (2) Sexual activity includes, but is not limited to, sexual intercourse, including genital-genital, oral-genital,
anal-genital, and oral-anal contact, whether between persons of the same or opposite sex; masturbation; touching
of the genitals, buttocks, or female breasts; sadistic or masochistic abuse and other deviate sexual relations.
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     (3) House of prostitution is any place where prostitution or promotion of prostitution is I eg1Jarly carried on
by one person under the control, management or supervision of another.
      (4) Promoting prostitution is:

       (a) Owning, controlling, managing, supervising or otherwise keeping, alone or in assoc at.un with another,
a house of prostitution or a prostitution business;
        (b) Procuring an inmate for a house of prostitution or place in a house of prostitution for one who would
be an inmate;
        (c) Encouraging, inducing, or otherwise purposely causing another to become or rema tn u prostitute;
        (d) Soliciting a person to patronize a prostitute;

        (e) Procuring a prostitute for a patron;
        (f) Transporting a person into or within this State with purpose to promote that pt:rsc,ns engaging in
prostitution, or procuring or paying for transportation with that purpose; or
        (g) Knowingly leasing or otherwise permitting a place controlled by the actor, alone or in association with
others, to be regularly used for prostitution or promotion of prostitution, or failure to make a r eas,)nable effort to
abate such use by ejecting the tenant, notifying law enforcement authorities, or other legally available means.



(f)(4) Federal Statute: USCS 1956(h) Conspiracy to Money Laundering
1956. Laundering of monetary instruments
   (a) (1) Whoever, knowing that the property involved in a financial transaction represents th,: prnceeds of some
form of unlawful activity, conducts or attempts to conduct such a financial transaction which in L.ct involves the
proceeds of specified unlawful activity

         (A) (i) with the intent to promote the carrying on of specified unlawful activity; or
              (ii) with intent to engage in conduct constituting a violation of section 7201 or 7'. '.06 of the Internal
Revenue Code of 1986 [26 USCS 7201 or 7206]; or
         (B) knowing that the transaction is designed in whole or in part
          (i) to conceal or disguise the nature, the location, the source, the ownership, or the control -)f the proceeds
of specified unlawful activity; or
           (ii) to avoid a transaction reporting requirement under State or Federal law, shall be ;en:enced to a fine
of not more than $500,000 or twice the value of the property involved in the transaction, whic: 1e,1,!r is greater,, or
imprisonment for not more than twenty years, or both. For purposes of this paragraph, a financi 11 t:-·ansaction shall
be considered to be one involving the proceeds of specified unlawful activity if it is part of. L set of parallel or
dependent transactions, any one of which involves the proceeds of specified unlawful activit~ , a1 td aH of which
are part of a single plan or arrangement.
       (2) Whoever transports, transmits, or transfers, or attempts to transport, transmit, or tr ms :er a monetary
instrument or funds from a place in the United States to or through a place outside the United Stat,!s or to a place
in the United States from or through a place outside the United States
        (A) with the intent to promote the carrying on of specified unlawful activity; or
        (B) knowing that the monetary instrument or funds involved in the transportation, transn tis!- ton, ,Jr transfer
represent the proceeds of some form of unlawful activity and knowing that such transportatio1 t, transmission,. or
transfer is designed in whole or in part
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          (i) to conceal or disguise the nature, the location, the source, the ownership, or the control of the proceeds
of specified unlawful activity; or
            (ii) to avoid a transaction reporting requirement under State or Federal law,
    shall be sentenced to a fine of not more than $500,000 or twice the value of the monetary instrument or funds
involved in the transportation, transmission, or transfer, whichever is greater, or imprisonment for not more than
twenty years, or both. For the purpose of the offense described in subparagraph (B), the defendants knowledge
may be established by proof that a law enforcement officer represented the matter specified in subparagraph (B)
as true, and the defendants subsequent statements or actions indicate that the defendant believed such
representations to be true.
      (3) Whoever, with the intent
         (A) to promote the carrying on of specified unlawful activity;
        (B) to conceal or disguise the nature, location, source, ownership, or control of property believed to be the
proceeds of specified unlawful activity; or
           (C) to avoid a transaction reporting requirement under State or Federal law, conducts or attempts to
conduct a financial transaction involving property represented to be the proceeds of specified unlawful activity,
or property used to conduct or facilitate specified unlawful activity, shall be fined under this title or imprisoned
for not more than 20 years, or both. For purposes of this paragraph and paragraph (2), the term represented means
any representation made by a law enforcement officer or by another person at the direction of, or with the approval
of, a Federal official authorized to investigate or prosecute violations of this section.
    (b) Penalties.
        (1) In general. Whoever conducts or attempts to conduct a transaction described in subsection (a)(l) or
(a)(3 ), or section 1957 [ 18 USCS 1957], or a transportation, transmission, or transfer described in subsection
(a)(2), is liable to the United States for a civil penalty of not more than the greater of
         (A) the value of the property, funds, or monetary instruments involved in the transaction; or
         (B) $10,000.
        (2) Jurisdiction over foreign persons. For purposes of adjudicating an action filed or enforcing a penalty
ordered under this section, the district courts shall have jurisdiction over any foreign person, including any
financial institution authorized under the laws of a foreign country, against whom the action is brought, if service
of process upon the foreign person is made under the Federal Rules of Civil Procedure or the laws of the country
in which the foreign person is found, and
           (A) the foreign person commits an offense under subsection (a) involving a financial transaction that
occurs in whole or in part in the United States;
        (B) the foreign person converts, to his or her own use, property in which the United States has an ownership
interest by virtue of the entry of an order of forfeiture by a court of the United States; or
          (C) the foreign person is a financial institution that maintains a bank account at a financial institution in
the United States.
        (3) Court authority over assets. A court may issue a pretrial restraining order or take any other action
necessary to ensure that any bank account or other property held by the defendant in the United States is available
to satisfy a judgment under this section.
       (4) Federal receiver.
           (A) In general. A court may appoint a Federal Receiver, in accordance with subparagraph (B) of this
paragraph, to collect, marshal, and take custody, control, and possession of all assets of the defendant, wherever
located, to satisfy a civil judgment under this subsection, a forfeiture judgment under section 981 or 982 [ 18
USCS 981 or 982], or a criminal sentence under section 1957 [ 18 USCS 1957] or subsection (a) of this section,
including an order of restitution to any victim of a specified unlawful activity.
         (B) Appointment and authority. A Federal Receiver described in subparagraph (A)
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            (i) may be appointed upon application of a Federal prosecutor or a Federal or Staie t\:gulator, by the
court having jurisdiction over the defendant in the case;
           (ii) shall be an officer of the court, and the powers of the Federal Receiver shall includr the powers set
out in section 754 of title 28, United States Code; and
          (iii) shall have standing equivalent to that of a Federal prosecutor for the purpose of~ ubnitting requests
to obtain information regarding the assets of the defendant
              (I) from the Financial Crimes Enforcement Network of the Department of the Tre.tsury; or
                (II) from a foreign country pursuant to a mutual legal assistance treaty, multila'. era. agreement, or
other arrangement for international law enforcement assistance, provided that such requests arl' in accordance
with the policies and procedures of the Attorney General.
   (c) As used in this section
      (1) the term knowing that the property involved in a financial transaction represents the priJCeeds of some
form of unlawful activity means that the person knew the property involved in the trans 1cti: )n r~presented
proceeds from some form, though not necessarily which form, of activity that constitutes a 1elony under State,
Federal, or foreign law, regardless of whether or not such activity is specified in paragraph (7:;
        (2) the term conducts includes initiating, concluding, or participating in initiating c,· concluding a
transaction;
       (3) the term transaction includes a purchase, sale, loan, pledge, gift, transfer, delivery, o: ot.:ter disposition,
 and with respect to a financial institution includes a deposit, withdrawal, transfer between ace, >w:i:s, exchange of
currency, loan, extension of credit, purchase or sale of any stock, bond, certificate of deposit, or l)ther monetary
instrument, use of a safe deposit box, or any other payment, transfer, or delivery by, through, o ~ to a financial
institution, by whatever means effected;
       (4) the term financial transaction means (A) a transaction which in any way or degree 2.ffo.:ts interstate or
foreign commerce (i) involving the movement of funds by wire or other means or (ii) invo ving one or more
monetary instruments, or (iii) involving the transfer of title to any real property, vehicle, vessel, or aircraft, or (B)
a transaction involving the use of a financial institution which is engaged in, or the activitit s of which affect,
interstate or foreign commerce in any way or degree;
       (5) the term monetary instruments means (i) coin or currency of the United States or of ID) other country,
travelers checks, personal checks, bank checks, and money orders, or (ii) investment secur fa:•, or negotiable
instruments, in bearer form or otherwise in such form that title thereto passes upon delivery;
      (6) the term financial institution includes
           (A) any financial institution, as defined in section 5312(a)(2) of title 31, United States Code, or the
regulations promulgated thereunder; and
         (B) any foreign bank, as defined in section 1 of the International Banking Act of 1978 12 U.S. C. 3101 );
      (7) the term specified unlawful activity means
          (A) any act or activity constituting an offense listed in section 1961(1) of this title [l 8 USCS 1961(1)]
except an act which is indictable under subchapter II of chapter 53 of title 31 [31 USCS 5311 d s1;:q.];
          (B) with respect to a financial transaction occurring in whole or in part in the United States, an offense
against a foreign nation involving
            (i) the manufacture, importation, sale, or distribution of a controlled substance (as sich term is defined
for the purposes of the Controlled Substances Act);
             (ii) murder, kidnapping, robbery, extortion, destruction of property by means of explosive or fire, or a
crime of violence (as defined in section 16 [18 USCS 16]);
            (iii) fraud, or any scheme or attempt to defraud, by or against a foreign bank (as defined in paragraph 7
of section l(b) of the International Banking Act of 1978 [12 USCS 3101(7)])[)];
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            (iv) bribery of a public official, or the misappropriation, theft, or embezzlement of public funds by or
for the benefit of a public official;
           (v) smuggling or export control violations involving
               (I) an item controlled on the United States Munitions List established under section 38 of the Arms
Export Control Act (22 U.S.C. 2778); or
                (II) an item controlled under regulations under the Export Administration Regulations (15 C.F.R.
Parts 730774);
          (vi) an offense with respect to which the United States would be obligated by a multilateral treaty, either
to extradite the alleged offender or to submit the case for prosecution, if the offender were found within the
territory of the United States; or
          (vii) trafficking in persons, selling or buying of children, sexual exploitation of children, or transporting,
recruiting or harboring a person, including a child, for commercial sex acts;
         (C) any act or acts constituting a continuing criminal enterprise, as that term is defined in section 408 of
the Controlled Substances Act (21 U.S.C. 848);
         (D) an offense under section 32 [18 USCS 32] (relating to the destruction of aircraft), section 37 [18 USCS
 37] (relating to violence at international airports), section 115 [18 USCS 115] (relating to influencing, impeding,
or retaliating against a Federal official by threatening or injuring a family member), section 152 [18 USCS 152]
 (relating to concealment of assets; false oaths and claims; bribery), section 175c [18 USCS 175c] (relating to the
variola virus), section 215 [18 USCS 215] (relating to commissions or gifts for procuring loans), section 351 [18
USCS 351] (relating to congressional or Cabinet officer assassination), any of sections 500 through 503 [18 USCS
 500 through 503] (relating to certain counterfeiting offenses), section 513 [18 USCS 513] (relating to securities
 of States and private entities), section 541 [18 USCS 541] (relating to goods falsely classified), section 542 [18
USCS 542] (relating to entry of goods by means of false statements), section 545 [18 USCS 545] (relating to
 smuggling goods into the United States), section 555 [18 USCS 555] (relating to border tunnels), section 549 [18
USCS 549] (relating to removing goods from Customs custody), section 554 [18 USCS 554] (relating to
 smuggling goods from the United States), section 641 [18 USCS 641] (relating to public money, property, or
records), section 656 [18 USCS 656] (relating to theft, embezzlement, or misapplication by bank officer or
employee), section 657 [18 USCS 657] (relating to lending, credit, and insurance institutions), section 658 [18
USCS 658] (relating to property mortgaged or pledged to farm credit agencies), section 666 [18 USCS 666]
(relating to theft or bribery concerning programs receiving Federal funds), section 793, 794, or 798 [18 USCS
793, 794, or 798] (relating to espionage), section 831 [ 18 USCS 831] (relating to prohibited transactions involving
nuclear materials), section 844 (f) or (i) [18 USCS 844(f) or (i)] (relating to destruction by explosives or fire of
Government property or property affecting interstate or foreign commerce), section 875 [18 USCS 875] (relating
to interstate communications), section 922( 1) [ 18 USCS 922( 1)] (relating to the unlawful importation of firearms),
section 924(n) [18 USCS 924(n)] (relating to firearms trafficking), section 956 [18 USCS 956] (relating to
conspiracy to kill, kidnap, maim, or injure certain property in a foreign country), section 1005 [18 USCS 1005]
(relating to fraudulent bank entries), [section] 1006 [ 18 USCS 1006] (relating to fraudulent Federal credit
institution entries), [section] 1007 [18 USCS 1007] (relating to Federal Deposit Insurance transactions), [section]
1014 [18 USCS 1014] (relating to fraudulent loan or credit applications), section 1030 [18 USCS 1030] (relating
to computer fraud and abuse), [section] 1032 [18 USCS 1032] (relating to concealment of assets from conservator,
receiver, or liquidating agent of financial institution), section 1111 (relating to murder), section 1114 [18 USCS
1114] (relating to murder of United States law enforcement officials), section 1116 [18 USCS 1116] (relating to
murder of foreign officials, official guests, or internationally protected persons), section 1201 [ 18 USCS 1201]
(relating to kidnaping), section 1203 [18 USCS 1202] (relating to hostage taking), section 1361 [18 USCS 1361]
(relating to willful injury of Government property), section 1363 [18 USCS 1363] (relating to destruction of
property within the special maritime and territorial jurisdiction), section 1708 [18 USCS 1708] (theft from the
mail), section 1751 [18 USCS 1751] (relating to Presidential assassination), section 2113 or 2114 [18 USCS
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 2113 or 2114] (relating to bank and postal robbery and theft), section 2252A [18 uses 2252,\.], relating to child
 pornography) where the child pornography contains a visual depiction of an actual minor e11gat~ing in sexually
 explicit conduct, section 2260 [18 uses 2260] (production of certain child pornography for: mp)rtatilon into the
 United States), section 2280 [18 uses 2280] (relating to violence against maritime navigatirnt), ;,;ection 2281 [18
 USCS 2281] (relating to violence against maritime fixed platforms), section 2319 [18 use; 2: 19] (relating to
 copyright infringement), section 2320 [ 18 USCS 2320] (relating to trafficking in counterfeit f oocs and services),
 section 2332 [18 uses 2332] (relating to terrorist acts abroad against United States nationals , sl'ction 2332a [18
 uses 2332a] (relating to use of weapons of mass destruction), section 2332b [18 uses 23::2b] :,:relating to
 international terrorist acts transcending national boundaries), section 2332g (relating to missile systems designed
 to destroy aircraft), section 2332h (relating to radiological dispersal devices), section 2339A c r 2 B9B [18 uses
 2339A or 2339B] (relating to providing material support to terrorists), section 2339C [18 USCS ::339C] (relating
 to financing of terrorism), or section 2339D [18 USCS 2339D] (relating to receiving military-type training from
 a foreign terrorist organization) of this title, section 46502 of title 49, United States Code, a fel uny violation of
 the Chemical Diversion and Trafficking Act of 1988 (relating to precursor and essential cheniculs), section 590
 of the Tariff Act of 1930 (19 U.S.C. 1590) (relating to aviation smuggling), section 422 ol the Controlled
 Substances Act [21 USCS 863] (relating to transportation of drug paraphernalia), section 3H(c) (relating to
 criminal violations) of the Arms Export Control Act [22 USCS 2778(c)], section 11 (relating 10 violations) of the
Export Administration Act of 1979 [50 USCS Appx. 2410], section 206 (relating to penalties) )ft 1e International
Emergency Economic Powers Act [50 USCS 1705], section 16 (relating to offenses and punishment) of the
 Trading with the Enemy Act [50 uses Appx 16], any felony violation of section 15 of the Focd and Nutrition
Act of 2008 [7 uses 2024] (relating to supplemental nutrition assistance program benefits fnrnd) involving a
quantity of benefits having a value of not less than $5,000, any violation of section 543(a)(l) )f the Housing Act
of 1949 [42 USCS 1490s(a)(l )] (relating to equity skimming), any felony violation of tlte foreign Agents
Registration Act of 1938 [22 USCS 611 et seq.], any felony violation of the Foreign Corrupt Practices Act, section
92 of the Atomic Energy Act of 1954 (42 U.S.C. 2122) (relating to prohibitions governing a1cm1 c weapons), or
section 104(a) of the North Korea Sanctions Enforcement Act of2016 [22 USCS 9214(a)] (re atfrlg to prohibited
activities with respect to North Korea);
            (E) Environmental Crimes. a felony violation of the Federal Water Pollution Cont:·ol Act i 33 U.S.C.
 1251 et seq.), the Ocean Dumping Act (33 U.S.C. 1401 et seq.), the Act to Prevent Polluti•m from Ships (33
U.S.C. 1901 et seq.), the Safe Drinking Water Act (42 U.S.C. 300f et seq.), or the Resource~ Cl'nservation and
Recovery Act (42 U.S.C. 6901 et seq.);
          (F) any act or activity constituting an offense involving a Federal health care offense; , ,r
          (G) any act that is a criminal violation of subparagraph (A), (B), (C), (D), (E), or (F) , ,fr rragraph (1) of
section 9(a) of the Endangered Species Act of 1973 (16 U.S.C. 1538(a)(l )), section 2203 ofth ! A-'rican Elephant
Conservation Act (16 U.S.C. 4223), or section 7(a) of the Rhinoceros and Tiger Conservaticn /\ct of 1994 (16
U.S.C. 5305a(a)), if the endangered or threatened species of fish or wildlife, products, items or substances
involved in the violation and relevant conduct, as applicable, have a total value of more than $10, 1)00;
        (8) the term State includes a State of the United States, the District of Columbia, and ar y ommonweaith,
territory, or possession of the United States; and
       (9) the term proceeds means any property derived from or obtained or retained, directly or nd:rectly, through
some form of unlawful activity, including the gross receipts of such activity.
    (d) Nothing in this section shall supersede any provision of Federal, State, or other law mposint~ criminal
penalties or affording civil remedies in addition to those provided for in this section.
    (e) Violations of this section may be investigated by such components of the Department c Jus1ice as the
                                                                                                       1•



Attorney General may direct, and by such components of the Department of the Treasury as tl e ~-ecretary of the
Treasury may direct, as appropriate, and, with respect to offenses over which the Departn .er.: of l-Iomeland
Security has jurisdiction, by such components of the Department of Homeland Security a: tl·.;: Se1::retary of
Homeland Security may direct, and, with respect to offenses over which the United States l 'os al Service has
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jurisdiction, by the Postal Service. Such authority of the Secretary of the Treasury, the Secretary of Homeland
Security, and the Postal Service shall be exercised in accordance with an agreement which shall be entered into
by the Secretary of the Treasury, the Secretary of Homeland Security, the Postal Service, and the Attorney
General. Violations of this section involving offenses described in paragraph (c)(7)(E) may be investigated by
such components of the Department of Justice as the Attorney General may direct, and the National Enforcement
Investigations Center of the Environmental Protection Agency.
    (f) There is extraterritorial jurisdiction over the conduct prohibited by this section if
       (1) the conduct is by a United States citizen or, in the case of a non-United States citizen, the conduct occurs
in part in the United States; and
         (2) the transaction or series of related transactions involves funds or monetary instruments of a value
exceeding $10,000.
    (g) Notice of conviction of financial institutions. If any financial institution or any officer, director, or
employee of any financial institution has been found guilty of an offense under this section, section 1957 or 1960
of this title [18 USCS 1957 or 1960], or section 5322 or 5324 of title 31, the Attorney General shall provide
written notice of such fact to the appropriate regulatory agency for the financial institution.

   (h) Any person who conspires to commit any offense defined in this section or section 1957 [18 USCS 1957]
shall be subject to the same penalties as those prescribed for the offense the commission of which was the object
of the conspiracy.
    (i) Venue.
       (1) Except as provided in paragraph (2), a prosecution for an offense under this section or section 1957 [ 18
USCS 1957] may be brought in
          (A) any district in which the financial or monetary transaction is conducted; or
          (B) any district where a prosecution for the underlying specified unlawful activity could be brought, if the
defendant participated in the transfer of the proceeds of the specified unlawful activity from that district to the
district where the financial or monetary transaction is conducted.
        (2) A prosecution for an attempt or conspiracy offense under this section or section 1957 [18 USCS 1957]
may be brought in the district where venue would lie for the completed offense under paragraph (1 ), or in any
other district where an act in furtherance of the attempt or conspiracy took place.
        (3) For purposes of this section, a transfer of funds from 1 place to another, by wire or any other means,
shall constitute a single, continuing transaction. Any person who conducts (as that term is defined in subsection
(c)(2)) any portion of the transaction may be charged in any district in which the transaction takes place.


(f)(5) Federal Statute: USCS 1962
    1962. Prohibited activities
    (a) It shall be unlawful for any person who has received any income derived, directly or indirectly, from a
pattern of racketeering activity or through collection of an unlawful debt in which such person has participated as
a principal within the meaning of section 2, title 18, United States Code [18 USCS 2], to use or invest, directly or
indirectly, any part of such income, or the proceeds of such income, in acquisition of any interest in, or the
establishment or operation of, any enterprise which is engaged in, or the activities of which affect, interstate or
foreign commerce. A purchase of securities on the open market for purposes of investment, and without the
intention of controlling or participating in the control of the issuer, or of assisting another to do so, shall not be
unlawful under this subsection if the securities of the issuer held by the purchaser, the members of his immediate
family, and his or their accomplices in any pattern or racketeering activity or the collection of an unlawful debt
after such purchase do not amount in the aggregate to one percent of the outstanding securities of any one class,
and do not confer, either in law or in fact, the power to elect one or more directors of the issuer.
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   (b) It shall be unlawful for any person through a pattern of racketeering activity or through 1, ollection of an
unlawful debt to acquire or maintain, directly or indirectly, any interest in or control of any i:nkrprise which is
engaged in, or the activities of which affect, interstate or foreign commerce.
    (c) It shall be unlawful for any person employed by or associated with any enterprise ,mgaged in, or the
activities of which affect, interstate or foreign commerce, to conduct or participate, directly or indirectly, in the
conduct of such enterprises affairs through a pattern of racketeering activity or collection of wtlawful debt
    (d) It shall be unlawful for any person to conspire to violate any of the provisions of subse,: tion (a), (b), or ( c)
of this section.


(g) Correspondence with law enforcement/regulatory agencies - Identify any
correspondence or communications received from or made to any state or federal fa w
enforcement or regulatory agency regarding the facts and circumstances surrounding the claims
of the plaintiff which are the subject of the present litigation.

    Extensive documentation exists that was provided by the FBI, DHS, and the U.S. Attorn,!ys· Office for the
District of New Jersey to the defendant is available within the discovery evidence of United States v. Torres (Case
#: 20-CR-418 BRM). This evidence can be made available by court order for this federal RICO ,:ase as most of
the evidence supporting this complaint is under a protective order by this Court.



SECTION 5: COUNTS
COUNT 1: VIOLATIONS OF CIVIL RICO STATUTE 18 USC§ 1962{c)-SUBSTANTl(VE ACT
    It shall be unlawful for any person employed by or associated with any enterprise engaged n, 1Jr the activities
of which affect, interstate or foreign commerce, to conduct or participate, directly or indirectl), in the conduct of
such enterprises affairs through a pattern of racketeering activity or collection of unlawful d !bt exce,eding two
predicate acts that equates to fraud, corruption, and activity in furtherance of prostitution, s, :x 1·afficking, and
attempted collection of criminal debt.

Defendants: Sher Tremonte LLP; Justin M. Sher; Michael Tremonte; Noam Biale; and Anna Estevao.



COUNT 2: VIOLATIONS OF CIVIL RICO STATUTE 18 USC§ 1962{d) -RICO Conspir~~£l'.
    It shall be unlawful for any person to conspire to violate any of the provisions of subsectio 1 ( .i ), (b ), or (c) of
this section. Incorporating all of the above, the defendants acted as a criminal enterprise that i:; nn as a business
with a pattern of illegal conduct. Defendant's goals are to gain significant revenue(s) while causing significant
injury to the plaintiff, Jose Torres.

Defendants: Sher Tremonte LLP; Justin M. Sher; Michael Tremonte; Noam Biale; Anna E,tevao; Toi"
Ekeland Law PLLC; Tor Ekeland; Jessica Coonrod; Argentino, Fiore Law Advocacy LI ,C; Jodi
Argentino; Celeste Fiore; and Frank Morano.
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SECTION 6: INJURIES / DAMAGES
(a) Injury to Business - Calculation oflnjury to Business
    "Loss of employment due to RICO violations is injury to business and not personal injury and so resulting
loss of wages, benefits and damage to reputation are compensable under 1964(c)." Shearin v. EF Hutton Group
Inc., 885 F.2d 1162 (3 rd Cir, 1980).

   1964. Civil remedies
           (c) Any person injured in his business or property by reason of a violation of section 1962
           of this chapter [ 18 USCS 1962] may sue therefor in any appropriate United States district
           court and shall recover threefold the damages he sustains and the cost of the suit,
           including a reasonable attorneys fee, except that no person may rely upon any conduct that
           would have been actionable as fraud in the purchase or sale of securities to establish a
           violation of section 1962 [18 USCS 1962]. The exception contained in the preceding
           sentence does not apply to an action against any person that is criminally convicted in
           connection with the fraud, in which case the statute of limitations shall start to run on the
           date on which the conviction becomes final.
   Plaintiff suffered loss of wages, benefits, and irreparable damage to reputation, as detailed below.

Loss of Wages from February 14, 2020 to Present
   Plaintiffs base annual income at the time of his arrest was $224,000 USD for fiscal year 2020. Jose Torres'
base annual income for the last three tax filings were:
2019, 2018 and 2017:
   2019 gross wages= $213,184
   2018 gross wages= $228,252
   2017 gross wages= $132,026 (new job at the end of May)

    Total loss of wages from February 14, 2020 to present = ~ $630,000+ plus bonuses.             Torres forewent
significant promotions.

Benefits include health insurance, 401k, workman's compensation, and disability insurance:
   2019 benefits lost=~ $15,000 estimated
   2018 benefits lost=~ $13,500 estimated
   2017 benefits lost=~ $12,000 estimated
   Total loss of benefits from February 14, 2020 to present=~ $40,500

   Total loss of wages= ~$670,500

Damage to Torres' Reputation- cost of 20 years building his reputation
    The plaintiff graduated from Rutgers University School of Business with a B.S. in Accounting in 2000 with
honors. He went on to build a career, starting out with the top accounting firm Ernst & Young, LLP. Torres
worked there for 2 years before accepting a position with Univision Communications as a Senior Auditor
managing operational, financial and compliance audits. As Torres continued to build a reputation of reliability
through hard work, he was offered and accepted a position with Sun Chemical as a Supervisor in the Internal
Audit Department where Torres managed staff and audits around the world. Torres began building expertise in
forensic and technical accounting and became well known both in an outside of his company for his skills and
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knowledge. Torres was recruited to work for Protiviti Consulting, a subsidiary of Robert Ha flrtemational, the
second largest recruiting firm in the world, handling the company's largest clients in the fore1csic operation, and
financial space. Torres' final job position before his arrest was with DLA Consulting, a mulr l-million dollar
accounting firm with over 100+ consultants with tens of dozens of worldwide clients, including cli.~nts in financial
services healthcare, private equity, hospitality, gun manufactures to just name a few. Torres' r min accounts were
with the German gun manufacturer Sig Sauer, Selina Hotels, Bank of New York, CDM Smith to name a fow.
Torres worked for DLA since 2016 and started as a senior manager. Within months, Torre, ,,. as promoted to
Managing Director. Torres had a perfect record with Human Resources and was conside ·ed by the C-level
executives as one of their most trusted, well respected, and essential executives of the firm.

    At the time of Torres' arrest, Torres could have been hired by virtually any accounting or consultimg fim1 in
the world. Torres could have been hired as the Chief Financial Officer or held another C-kvcl position. The
damage suffered to Torres' business reputation is the compilation of 20 years of late nights, cuncelled flights,
long meetings, dedication, simple hard work, and thought leadership. Torres was at the very b ~g:nning of the top
of his career.

   College education~ $25,000 (including expenses) per year x 4 years = ~ $100,000 or $0.10 1nillion
   20 irreplaceable year's reputation building: $3.0 million ($150,000 per year estimated avna,f.e)
   Total cost for loss ofreputation = $3,100,000 or $3.1 million


Loss of Future Income
    Plaintiff, Jose Torres, was 42 years old at the time of his arrest and had at least 25 years )f Hdditional years
where Torres would earn a top escalating executive salary. While Torres was comfortable at hi, last employment,
Torres could readily receive offers for $350,000+ base salary plus bonus per year, with h s knowledge, and
experience. At this point, Torres may be unemployable in his field from his loss of reputation caused by
defendants.
   2021-2025 projected income= $1.75 million
   2026-2030 projected income= $1.75 million
   2031-2035 projected income= $1.75 million
   2036-2040 projected income= $1.75 million
   2041-2045 projected income= $1.75 million
   Total future income lost= $8.75 million

Other Injuries Suffered
   1. False imprisonment
   2. Loss of relationship with Torres' children and mother
   3. Torres put in harm's way at a maximum security jail
   4. Mental and emotional anguish
   5. Degradation
   6. Humiliation
   7. Shame
   8. Embarrassment
   9. Anxiety
   10. Fear
   11. Intimidation
   12. Anguish
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    13. Mental health
    14. High-blood pressure driven by injuries/and conditions at the jail
    15. Inconvenience
    16. U.S. Government disparaged Torres in newspaper(s) and on the internet
    17. Paid attorney fees $60,000+
    18. Loss of personal belongings, including pictures of Torres' children and family
    19. Loss of vehicle, 2017 Grey Honda Civic

    Total other injuries~ $5,000,000 or $5.0 million

Combined Total Injury
    Total loss of wages from February 14, 2020 to present=~ $670,500 or $0.675 million
    Total cost for loss ofreputation = ~ $3,100,000 or $3.1 million
    Total future income lost=~ $8,750,000 or $8.75 million
    Total other injuries=~ $5,000,000 or $5.0 million
    Total Combined Injury=~ $17,520,500 or $17.5 million

   Total combined injury times three fold for treble damages= $52,561,500 USD or~ $52.56 million which
does not include significant executive level promotions Torres forewent.

(b) Violations Causing Injuries - Describe the direct causal relationship between the alleged injury and the
    violation of the RICO statute.

    The criminal enterprise of the co-defendants could not be complete without the utilization of the relationship
with Sher Tremonte LLP former employee Emma S. Spiro, as A.U.S.A. Emma S. Spiro is the engine that runs
the collection activities for Sher Tremonte LLP; Tor Ekeland PLLC; and Argentino, Fiore Law Advocacy LLC.
For this and other reasons, Sher Tremonte attorneys, Tor Ekeland Law PLLC attorneys and Argentino, Fiore Law
Advocacy PLLC attorneys have a direct conspiratorial relationship with Emma Spiro.

    Sher Tremonte utilized their former authority as Emma Spiro's employer to induce her to initiate an
unprecedented criminal charge against the Plaintiff by attempting to prosecute a "john" on a statute passed by
Congress to criminalize the actual clients of the said law firms. No other "john" in the 11 O+ year history has ever
been convicted of this charge. While the success of conviction may be difficult, the upside for the co-conspirator
law firms and related attorneys can double, triple, or triple the law firms' annual revenues and related net profits
by opening up the untapped multi-billion dollar prostitution and sex trafficking collection market to these law
firms.

   This criminal charge lodged against defendant Jose Torres caused defendant to lose his job, wages, benefits,
reputation and relationship with his children and the relationship these children had with Torres' family.

    Furthermore, defendant has been incarcerated against his will for the entire period from his arrest date on
February 14, 2020 to present. The co-conspirators enticed prostitutes and sex traffickers to use false allegations
of violence to cause the defendant, who has never committed a crime in his life, to get his bail denied and be
remanded to a maximum security county jail.

    This same county jail, Essex County Correctional Facility ('ECCF') has caused Torres to be housed with
violent criminals with extensive criminal records. ECCF has become known as one of the deadliest county jails
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in America as detailed in the December 2021 New York Times article, with frequent murdt:rs., stab·'.,ings,.and
violent gang related fights.

    Jose Torres further has had to sustain his life during severe Covid-19 lockdown condit.on-: thai: included
violations of his Constitutional rights under the pt Amendment lack of access to clergy, 5th Amendment lack of
access to his attorneys, 8th amendment insufficient medical care including no doctors or dentis :s, :,: th Amendment
no access to family visits, 8th amendment severe isolation for 23+ hours per day in a closet size l cell. J,Jse Torres
suffers from high blood pressure and is at risk daily for death from Covid-19, not to mentio 1 ti· e violent gang
environment that surrounds the Essex County Correctional Facility.

Total combined injury times three fold for treble damages as stipulated by the law = $5:.!,5M,500 USD or
$52.56 million.

(c) Each Defendant's Liability - List the damages sustained by reason of the violation of Sec1 ion 1962,
    indicating the amount for which each defendant allegedly is liable.

    All defendants are equally liable for damages sustained and will be responsible and brougl t tl 1 justice.



SECTION 7: INJUNCTIVE RELIEF & RESTRAINING C)RD:ER
   1964 (a) reads:
           "The district courts of the United States shall have jurisdiction to prevent and 1es train
           violations of section 1962 of this chapter [ 18 USCS 1962] by issuing appropriate ord ~rs,
           including, but not limited to: ordering any person to divest himself of any iuterest,
           direct or indirect, in any enterprise; imposing reasonable restrictions on the fut ore
           activities or investments of any person, including, but not limited to, prohibiti!_!g imy
           person from engaging in the same type of endeavor as the enterprise engaged in, the
           activities of which affect interstate or foreign commerce; or ordering dissolu ion or
          reorganization of any enterprise, making due provision for the rights of innocent pe rso as."

EMERGENT INJUNCTIVE RELIEF & RESTRAINING ORDER
      Incorporating all of the above, Plaintiff requests this Court for an emergency injunctio11 upon defendants
and order defendants to discontinue all relationships with each other, known and unknow 1, 1 n tht: criminal
enterprise of collection of criminal debt derived from prostitution and sex trafficking; and im1 nediately dissolve
all secretive agreements made toward this ongoing criminal enterprise. Injunctive relief shouk in.Jude sanctions
for violation of injunctive order.


SECTION 8: DEMAND FOR TRIAL BY JURY
      On all facts, count(s) and claim(s) asserted, Plaintiff demands a trial by jury as it is the Pl:iintiff's United
States Constitutional Right, guaranteed by Amendment VII of the United States Constitution.
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SECTION 9: PRAYER
        Plaintiff incorporates by reference statement of claim and all counts within this complaint, as fully set forth
here.

A. Declaratory judgment that the acts of the defendants, employees, and/or agents violated 18 U.S.C.S § 1964(c)
   and/or (d) under the laws of the State of New Jersey and the United States of America causing significant
   injuries to Plaintiff, Jose Torres.
B. Grant immediate Injunctive Relief to halt defendants' actions to attempt to collect criminal debt from citizens,
   "johns", business people, public figures, etc. derived from the illegal business of prostitution and sex
   trafficking industry.
C. Grant compensatory and punitive judgment in favor of the Plaintiff, Jose Torres.


CERTIFICATION OF PLAINTIFF
      I, Jose Torres, Plaintiff, certify under penalty of perjury, that I am personally familiar with all facts,
allegations, and statements made within this complaint based on personal knowledge. I certify that all facts,
allegations, and statements made are true and correct to the best of my knowledge and belief. I understand there
are penalties for knowingly providing false statements and/or claims.


SIGNED:                                                      DATE:      l-11- ZoL -z-
                 Jose Torres
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